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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )
VS.                                            )   CRIMINAL NO. 00-40101-GPM
                                               )
BRAD TAYLOR,                                   )
                                               )
                      Defendant.               )

                             VERDICT FORM - Count One

                                                               ;?_'U_·~_L_-;r
       We, the jury, find the defendant, BRAD TAYLOR, _ _..........       ___:Y~___,of the
                                                             , Guilty/Not Guilty

offense of conspiring to distribute and possess with intent to distribute cocaine base, commonly

known as "crack cocaine," and cocaine, as charged in Count 1 of the Third Superseding

Indictment.


                      FO EPERSON
                      '?vt~ A-II-~"'-""" ~-e..L
